5 F.3d 1491
    U.S.v.Eighteen Units, More or Less, of an Article of Drug, 'SportsOxygen a Breath of Fresh Oxygen', Oxygen Cylinder RegulatorValve, Face Mask and Carrying Case, 'Sports Oxygen,Instructions, Leland-NTG, Sports Oxygen Distributed byLeland Limited, Inc., Contents 18 Liters of Oxygen, Performto your Limit, Get that Second Effort
    NO. 92-5705
    United States Court of Appeals,Third Circuit.
    July 27, 1993
    
      1
      Appeal From:  D.N.J.
    
    
      2
      AFFIRMED.
    
    